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                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                  )No。     3:17-cr-00088-TMB
                                                  )   3:17-cr-0()091-TlvIB
                         Plainti氏              )
                                                  )
         VS.                          )
                                               )
 CHRISTOPHER ARNDT,                               )PLEA AGREEMENT
                                               )
                         Defendant.           )


               Unless the parties jointly inform the Court in writing of
               any additional agreements, this document in its entirety
               contains the terms of the plea agreement between the
               defendant and the United States. This agreement is
               limited to the District of Alaska; it does not bind other
               federal, state, or local prosecuting authorities.




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I.     TERPIIS OF AGREEMENT,FEDERAL RULE OF CRIMINAL
        PROCEDURE ll,WAIVER OF CLAIPIFOR ATTORNEY'S FEES AND
        COSTS

        A.     Terms of Agreement

        The defendant agrees to plead guilty to Count one of the Indictment in case 3:17-

cr-00088-TMB and Count Two in the Indictment in case 3:17-cr-00091-TMB; the

defendant also agrees and accepts the quantities of narcotics alleged in the remaining

Counts of Indictments in    3   :1   7-cr-00088-TMB ; 3 :17 -cr-00089-TMB; and   3 : 1 7-cr-0009   1   -

TMB,   as relevant conduct      to determine his U.S.S.G. offense level at sentencing pursuant

to U.S.S.G. $ 181.3. At sentencing, the United States         will dismiss counts 2-5 of the

Indictment in 3:17-cr-00088-TMB; count           1   of the Indictment in 3:17-cr-00089-TMB    as      it

relates to the defendant; and count 1 of the Indictment in 3:17-cr-00091-TMB as it relates

to the defendant. Finally, the United States agrees not to prosecute the defendant further

for any other offense related to the event that resulted in the charges contained in the

Indictments. The parties are free to make sentencing recommendations consistent with

this agreement. Any agreements the parties have on sentencing recommendations and

guideline applications are set forth in Section III. The defendant      will waive all rights to

appeal the conviction and sentence imposed under this agreement, and          will waive all

rights to collaterally attack the conviction and sentence, except on the grounds       of

ineffective assistance of counsel or the voluntariness of the plea(s).




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        B.        Federal Rule of Criminal Procedure            11


        Unless the parties otherwise inform the Court in writing, Federal Rule of Criminal

Procedure    ll(c)(l)(A)     and (B)      will control this plea agreement. Thus, the defendant may

not withdraw from this agreement or the guilty plea(s) if the Court rejects the parties'

sentencing recommendations at the sentencing hearing.

        C.        Waiver of Claim for Attorney Fees and Costs

        Because this is a negotiated resolution of the case, the parties waive any claim for

the award of attorney fees and costs from the other party.

II.     CHARGES, ELEMENTS, FACTUAL BASIS, STATUTORY PENALTIES
        AND OTHER MATTERS AFFECTING SENTENCE, FORFEITURE

        A.        Charges

        The defendant agrees to plead guilty to the following count(s) of the

 indictment/information       :




             L        Count 1 of Indictment in Case Number 3:17-cr-00088-TMB: Drug

Distribution, a violation of 21 U.S.C. $ 8a1(a)(l) and (b)(1)(B).

             2.      Count 2 of Indictment 3:17-cr-00091-TMB: Money Laundering

Conspiracy, a violation of 18 U.S.C. $ 1956(h).

        B.        Elements

        The elements of the charge(s) to which the defendant is pleading guilty are as

follows:




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                 Count   I of the Indictment 3:17-cr-00088-TMB. Distribution of Controlled
                 Substances

                         l)      The defendant knowingly distributed 5 grams or more   of

actual methamphetamine;

                         2)      The defendant knew the methamphetamine was a prohibited

                 drug.

                Count 2 of Indictment 3: 17-cr-00091-TMB. Money Laundering Conspiracy

                         1.      There was agreement between two or more people to conduct

                financial transactions involving the proceeds of narcotics trafficking, with

                the intent to promote the carrying on of narcotics trafficking or to conceal

                the nature, location, source, ownership or control of the proceeds of the

                narcotics trafficking; and

                         2.      The defendant joined the agreement knowing of its purpose

                and intending to accomplish its objective.

        C.      Factual Basis

        The defendant admits the truth of the allegations in Count   I indictment in 3:17-cr-

00088-TMB, Count 2 of the indictment in 3:17-cr-00091-TMB, and the truth of the

following statement. The parties stipulate that the Court may rely upon this statement to

support the factual basis for the guilty plea(s) and for the imposition of the sentence:

        On August 12 and,25,2016; September 25,2016; and November 12 and 16,2016,

in Kodiak, Alaska, the defendant distributed 5 grams or more of actual methamphetamine

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on each occasion, the defendant knew he was distributing methamphetamine, an illegal

and prohibited substance.

       On October 12 and 13,2016, the defendant agreed with James Genity to possess

with intent to distribute   a   mixture and substance containing a detectable amount of

methamphetamine. The defendant and Gerrity possessed a quantity of methamphetamine

in Anchorage, Alaska, and they intended to distribute the methamphetamine in Kodiak.

       On December 16, 2016, the defendant and Leigh Ann Massengill agreed to

conduct a financial transaction with proceeds of illegal narcotics sales that was intended

to promote continued narcotics trafficking and to conceal to the nature, location, source,

ownership or control of the proceeds of the narcotics trafficking. Massengill traveled to

Kodiak with a mixture and substance containing methamphetamine and provided it to

Arndt. Arndt then provided Massengill with drug proceeds that she sent to Anchorage

via Wal-Mart money transfer in order to facilitate another drug transaction. Massengill

then traveled back to Anchorage and returned with another mixture and substance

containing methamphetamine for Arndt to distribute in Kodiak.

       C.      Statutory Penalties and Other Matters Affecting Sentence

                      1.        Statutorv Penalties

       The statutory penalties applicable to the charges to which the defendant is

pleading guilty, based on the facts to which the defendant    will admit in support of the

guilty plea(s), are as follows:




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                 Count 1: Drug Distribution

                 1) 5-40 years imprisonment;

                 2) amaximum $5 million fine;

                 3) a $100 mandatory special assessment; and

                4) four years to life ofsupervised release.

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                 Count 2: Money Laundering Conspiracy

                 1) maximum term of imprisonment of 20 years;

                2) a maximum fine of $500,000 or twice the value of the monetary

                instruments involved;

                3) a $100 mandatory special assessment; and

                4) three years supervised release.

                         2.      Other Matters Affecting Sentence

                                 a)       Conditions affecting the defendant's sentence

        The following conditions may also apply and affect the defendant's sentence: 1)

pursuant to Comment 7 of U.S.S.G. $ 581.2, the Court may impose an additional fine to

pay the costs to the government of any imprisonment and supervised release term;2)

pursuant to 18 U.S.C. $ 3612(0, unless otherwise ordered,         if the Court imposes   a fine   of

more than $2,500, interest      will   be charged on the balance not paid within 15 days after

the judgment date; 3) upon violating any condition of supervised release, a further term


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of imprisonment equal to the period of the supervised release may be imposed, with no

credit for the time already spent on supervised release; 4) the Court may order the

defendant to pay restitution pursuant to 18 U.S.C. $ 3663 and U.S.S.G. $ 5E1.1.

                                   b)      Payment of Special Assessment

        The defendant agrees to pay the entire special assessment in this case on the day

the Court imposes the sentence.           All   payments   will   be by check or money order, and are

to be delivered to the Clerk of Court, United States District Court, 222 W.7th Ave. Box

4, Rm. 229, Anchorage,        AK 99513-7564.

                                  c)       Consequences of Felony Conviction

       Any person convicted of a federal felony offense may lose or be denied federal

benefits including any grants, loans, licenses, food stamps, welfare or other forms            of

public assistance, as well as the right to own or possess any firearms, the right to vote, the

right to hold public office, and the right to sit on a jury. If applicable, any defendant who

is not a United States citizen may be subject to deportation from the United States

following conviction for      a   criminal offense and will not be permitted to return unless the

defendant specifically receives the prior approval of the United States Attorney General.

       D.      Forfeiture

       There are no items forfeited under this agreement.




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IⅡ   . ADVISORY UNITED STATES SENTENCING GUIDELINES;
        GUIDELINE APPLICATION AGREEMENTS;SENTENCING
        RECOMMENDATIONS

        A.     Advisory United States Sentencing Guidelines

        The Court must consultthe advisOry l」 nited States Sentencing COnllnission

Guidelines[UoSoS.G.]as wCll as the factors set forth in 18 UoSoC.§       3553(a)when

considering the sentence to impose. Thel」 .S.S.Go do not establish the statutory

maxirnum or rninimun■ sentence applicable to the offenses to、 vhich thc defendant is

pleading guilty. Thel」 .S.S.G.are notrnandatory and the Courtis not bound to impose a

sentencc rccommended by thc UoSoS.G.

       B.      Guideline ApplicatiOn Agreements

       The parties have no agreements on any guideline applications unless set fbrth

below in this section。


                1.       Acceptance of responsibility

       If   the United States concludes that the defendant has satisfied the criteria set out in

U.S.S.G. $ 3E1.1 and the applicable application notes, the United States agrees to

recommend the defendant for a two level downward adjustment for acceptance            of

responsibility and, if U.S.S.G. $ 3E1.1(b) applies, to move for the additional one level

adjustment for acceptance of responsibility. If, at any time prior to imposition of the

sentence, the United States concludes that the defendant has failed to     fully satisfy the

criteria set out in U.S.S.G. $ 3E1.1, or has acted in a manner inconsistent with acceptance



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of responsibility, the United States will not make or, if already made, will withdraw this

recommendation and motion.

         C.      Sentencing Recommendations

        The United States Probation Office will prepare the defendant's pre-sentence

report in which it    will include a recommended calculation of the defendant's              sentence

range under the U.S.S.G. Both the United States and the defendant                 will   have the

opportunity to argue in support of or in opposition to the guideline sentence range

calculation the U.S.P.O. recommends, as well as present evidence in support of their

respective sentencing arguments. The parties are free to recommend to the Court their

respective positions on the appropriate sentence to be imposed in this case based on the

stipulated facts set forth in Section         II C, any additional facts   established at the imposition

of sentence hearing, the applicable statutory penalty sections, the advisory U.S.S.G., and

the sentencing factors set forth in 18 U.S.C. $ 3553.

Iv.     WAIVER OF TRIAL, APPELLATE RIGHTS, AND COLLATERAL
        ATTACK RIGHTS

        A.      Trial Rights

        Being aware of the following, the defendant waives these trial rights:

                     If pleading to an information, the right to have the charges presented to

                     the grand jury prior to entering the guilty plea;

                    The right to a speedy and public trial by jury on the factual issues

                    establishing guilt or any fact affecting the mandatory minimum and


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                  statutory penalties, and any issue affecting any interest in any assets

                  subject to forfeiture;

                  The right to object to the composition of the grand or trial jury;

                  The right to plead not guilty or to persist in that plea   if it has already

                  been made;

                  The right to be presumed innocent and not to suffer any criminal penalty

                  unless and until the defendant's guilt is established beyond a reasonable

                  doubt;

                  The right to be represented by counsel at trial and if necessary to have a

                  counsel appointed at public expense to represent the defendant at trial --

                  the defendant is not waiving the right to have counsel continue to

                  represent the defendant during the sentencing phase of this case;

                  The right to confront and cross examine witnesses against the defendant,

                  and the right to subpoena witnesses to appear in the defendant's behalf;

                  The right to remain silent attrial, with such silence not to be used

                  against the defendant, and the right to testify in the defendant's own

                  behalf;

                  The right to contest the validity of any searches conducted on the

                  defendant's property or person.




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        B.      Appellate Rights

        The defendant waives the right to appeal the conviction(s) resulting from the entry

of guilty plea(s) to the charges set forth in this agreement. The defendant further agrees

that if the Court imposes a sentence that does not exceed the statutory maximum penalties

- as set forth in section II D above in this agreement, the defendant        waives without

exception the right to appeal on all grounds contained in 18 U.S.C.5 3742 the sentence

the Court imposes- including forfeiture (if applicable) or terms or conditions of probation

(if applicable) or supervised release, and any fines or restitution.

        C.      Collateral Attack Rights

        The defendant agrees to waive all rights to collaterally attack the resulting

conviction(s) and/or sentence       - including   forfeiture (if applicable) or terms or conditions

of probation (if applicable) or supervised release, and any fines or restitution       - the Court
imposes. The only exceptions to this collateral attack waiver are as follows: 1) any

challenge to the conviction or sentence alleging ineffective assistance of counsel -- based

on information not now known to the defendant and which, in the exercise of reasonable

diligence, could not be known by the defendant at the time the Court imposes sentence;

and2) a challenge to the voluntariness of the defendant's guilty plea(s).

V.      ADDITIONAL AGREEMENTS BY UNITED STATES

        In exchange for the defendant's guilty plea(s) and the Court's acceptance of the

defendant's plea and the terms of this agreement, the United States agrees that it        will

dismiss Counts 2-5 of the indictment in 3:17-cr-00088-TMB; the Count 1 indictment in

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3:17-cr-00089-TMB; and Count           1   of the indictment in 3:17-cr-00091-TMB at sentencing

and that it   will not prosecute the defendant further for any other offense -- now known --

arising out of the subject of the investigation related to the charges brought in the

indictment in this case and the defendant's admissions set forth in Section II C.

Provided, however, if the defendant's guilty plea(s) is/are rejected, withdrawn, vacated,

reversed, or set aside, or    ifthe defendant's   sentence or conviction is vacated, reversed, set

aside, or modified, at any time, in any proceeding, for any reason, the United States       will
be free to prosecute the defendant on all charges arising out of the investigation of this

case including any charges dismissed pursuant to the terms of this agreement, which

charges   will   be automatically reinstated as well as for perjury and false statements.

VI.     ADEQUACY OF THE AGREEMENT

        Pursuant to Local Criminal Rule 11.2 (d)(7) and (8), this plea agreement is

appropriate in that it conforms with the sentencing goals that would otherwise be

applicable to the defendant's case if the defendant had gone to trial and had been

convicted on all counts in the charging instrument.

VII.    THE DEFENDANT'S ACCEPTANCE OF THE TERMS OF THIS PLEA
        AGREEMENT

        I, CHRISTOPHER ARNDT, the defendant, affirm this document contains all of

the agreements made between me - with the assistance of my attorney           -   and the United

States regarding my plea(s). There are no other promises, assurances, or agreements the

United States has made or entered into with me that have affected my decision to enter


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any plea of guilty or to enter into this agreement.         If there   are any additional promises,

assurances, or agreements,       I and the United States will jointly inform the Court in writing

before I enter my guilty plea(s).

           I understand that no one, including my attorney, can guarantee the outcome of my

case or what sentence the Court may impose          if I plead guilty. If anyone, including my

attorney, has done or said anything other than what is contained in this agreement, I             will

inform the Court when I stand before it to enter my plea. If there were, I would so inform

the Court.

          I enter into this agreement understanding and agreeing that the conditions set forth

herein are obligatory and material to this agreement and that any failure on my part to

fulfill   these obligations   will constitute a material   breach of this agreement.    If I breach this

agreement, I agree the United States, in its sole discretion, may withdraw from this

agreement and may reinstate prosecution against me on any charges arising out of the

investigation in this matter. If my compliance with the terms of this plea agreement

becomes an issue, at an appropriate hearing, during which I agree any of my disclosures

will   be admissible, the Court    will determine whether or not I have violated the terms of

this agreement. I understand the government's burden to prove a breach will be by                a


preponderance of the evidence.

          I understand the Court will ask me under an oath to answer questions about the

offense(s) to which I am pleading guilty and my understanding of this plea agreement. I




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understand that I may be prosecuted         if I make false   statements or give false answers and

may suffer other consequences set forth in this agreement.

        I have read this plea agreement carefully and understand it thoroughly. I know of

no reason why the Court should find me incompetent to enter into this agreement or to

enter my plea(s). I enter into this agreement knowingly and voluntarily. I understand that

anything that I discuss with my attorney is privileged and confidential, and cannot be

revealed without my permission. Knowing this, I agree that this document             will   be filed

with the Court.

         I am fully satisfied with the representation given me by my attorney and am

prepared to repeat this statement at the time I stand before the Court and enter my guilty

plea(s). My attorney and I have discussed all possible defenses to the charges to which I

am pleading    guilty. My attorney has investigated my case and followed up on any

information and issues I have raised to my satisfaction. My attorney has taken the time to

fully explain the legal and factual issues involved in my case to my satisfaction. We have

discussed the statutes applicable to my offense and sentence as well as the possible effect

the U.S.S.G. may have on my sentence.

        Based on my complete understanding of this plea agreement, I therefore wish to

enter a plea of guilty to Count 1 of the indictment in 3:17-cr-00088-TMB, Count 2 of the

indictinent in 3:17-cr‐ 00091-T卜 4B.




             VCL三 1生企E■」こlご_____
DATED:_二
                                                       CHRISTOPHER ARNDT
                                                       Defendant
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        As counsel for the defendant, I have discussed with the terms of this plea
agreement with the defendant, have conveyed all offers to my client and have fully
explained the charge(s) to which the defendant is pleading guilty and the necessary
elements, all possible defenses, and the consequences of a guilty plea to a felony. This is
the only offer made by the United States to resolve this matter. Based on these
discussions, I have no reason to doubt that the defendant is knowingly and voluntarily
entering into this agreement and entering a plea of guilty. I know of no reason to
question the defendant's competency to make these decisions. If, prior to the imposition
of sentence, I become aware of any reason to question the defendant's competency to
enter into this plea agreement or to enter a plea of guilty, I will immediately inform the
court.


DATED: tの ノQら ノヽ 7
               =二
                                                 JOHN CASHION
                                                 Attorncy fOr CHRISTOPHER ARNDT


       On behalf of the United States, the following accept the defendant's offer to plead
guilty under the terms of this plea agreement.



DATED:
                   ｀
                   ｀
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                                                 Acting Uniled States of America
                                                 United States Attorney




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